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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                       Case No. 1:18-cr-109-12
        v.                                      JUDGE DOUGLAS R. COLE

SETH NEZAT,

               Defendant.

             CRIMINAL MINUTES: CHANGE OF PLEA ON INDICTMENT

Defendant appeared by video with counsel Jay Clark

Defendant advised of right to appear in person, but consented to appear by video

Defendant arraigned and specifically advised of rights

Plea Agreement summarized by AUSA Megan Gaffney

Statement of Facts read by AUSA Megan Gaffney

Defendant pled GUILTY to Count 1

Plea accepted by the Court

Referred to Probation Department for Presentence Report

Defendant remanded to the custody of the U.S. Marshal




Judge:                  Douglas R. Cole

Courtroom Deputy:       Scott Lang

Court Reporter:         Sue Lopreato-Official

Date:                   January 28, 2021
